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9     UNITED STATES OF AMERICA

10                             UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12    UNITED STATES OF AMERICA,                No. CR 84-972-VAP

13               Plaintiff,                    GOVERNMENT’S UNOPPOSED EX PARTE
                                               APPLICATION FOR EXTENSION OF TIME
14                     v.                      TO FILE RESPONSE TO NON-PARTY
                                               FUGITIVE MEDIA’S REQUEST TO UNSEAL
15    RICHARD W. MILLER, et al.,               DOCUMENTS; DECLARATION OF DAVID
                                               RYAN
16               Defendants.

17

18         Plaintiff United States of America, by and through its counsel
19    of record, the United States Attorney for the Central District of
20    California and Assistant United States Attorney David Ryan, hereby
21    submits this unopposed ex parte application for extension of time to
22    file a response to the Request to Unseal Exhibits and Transcripts Or,
23    In The Alternative, View Sealed Documents (the “Request”), filed on
24    February 27, 2019, by non-party Fugitive Media.
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1          This application is based upon the attached declaration of David

2     Ryan, the files and records in this case, and such further evidence

3     and argument as the Court may permit.

4      Dated: May 17, 2019                   Respectfully submitted,

5                                            NICOLA T. HANNA
                                             United States Attorney
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                                             PATRICK R. FITZGERALD
7                                            Assistant United States Attorney
                                             Chief, National Security Division
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9                                                /s/
                                             DAVID T. RYAN
10                                           Assistant United States Attorney

11                                           Attorneys for Plaintiff
                                             UNITED STATES OF AMERICA
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1                             DECLARATION OF DAVID T. RYAN
2     I, David T. Ryan, declare as follows:

3          1.    I am an Assistant United States Attorney in the United

4     States Attorney’s Office (USAO) for the Central District of

5     California.    I am one of the attorneys representing the government in

6     this case.

7          2.    In October 1984, defendant Richard Miller, a former Federal

8     Bureau of Investigation (“FBI”) agent, and two alleged

9     representatives of the Soviet Union, Svetlana Ogorodnikova and

10    Nikolay Ogorodnikova, were charged with various offenses relating to

11    the alleged delivery by Miller of confidential information to the

12    Ogorodnikovas.    In 1986, the Ogorodnikovas pleaded guilty, and Miller

13    was convicted at trial.      Miller’s conviction was overturned by the

14    Ninth Circuit in 1989, and he was convicted again in a retrial in

15    1990.

16         3.    On February 27, 2019, non-party Fugitive Media submitted a

17    “Request to Unseal exhibits and transcripts or, in the alternative,

18    view sealed documents” (the “Request”).        (Dkt. 1318).     The Request

19    seeks an order from the Court to unseal or allow Fugitive Media to

20    view “all sealed documents” filed in this case, on the ground that

21    “the Court has not demonstrated that it has met the burden of proof

22    required to keep the requested documents sealed.”          (Id.).

23         4.    On April 9, 2019, Fugitive Media identified transcripts of

24    proceedings on 31 specific dates, as well as certain exhibits, which

25    it expressed a particular interest in obtaining by May 31, 2019.

26         5.    On April 23, 2019, the Court issued an Order directing the

27    government to respond to the Request as to the subset of documents

28    identified by Fugitive Media by May 17, 2019, and ordering the
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1     Clerk’s office to provide a copy of sealed documents in this case to

2     the government.    (Dkt. 1323).

3          6.    On April 25, 2019, I received a hard drive from the Clerk’s

4     office containing sealed documents in the Court’s records.            The hard

5     drive contains approximately 200 docket entries that were filed under

6     seal.

7          7.    Based on my review of the documents on the hard drive, the

8     hard drive contains at least several hundred pages of materials that

9     were filed in camera and under seal pursuant to the procedures

10    established for handling classified information under the Classified

11    Information Procedures Act (“CIPA”).

12         8.    Based on my review of the documents on the hard drive, the

13    hard drive contains only two of the 31 transcripts specifically

14    identified by Fugitive Media on April 9, 2019, and does not contain

15    the exhibits specifically identified by Fugitive Media.

16         9.    Based on my review of the documents on the hard drive,

17    certain of the documents appear to contain materials that, if

18    improperly disclosed or disseminated, could pose a serious or grave

19    threat to the national security of the United States.           Accordingly,

20    on May 16, 2019, I contacted the Court Information Security Officer,

21    Scooter Slade, to review the Court’s records to determine whether

22    certain materials in the sealed case file are subject to

23    classification and ensure that such materials are stored and handled

24    in accordance with proper classification procedures.           Mr. Slade

25    agreed to meet with me on Monday, May 20, 2019, to begin reviewing

26    the matter.

27         10.   On May 17, 2019, I spoke to Elizabeth Wilson, the

28    representative for Fugitive Media, by phone, regarding the foregoing.

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1     Ms. Wilson and I spoke with multiple representatives from the Clerk’s

2     office and inquired about the apparent absence of a significant

3     number of documents.     The Clerk’s office informed us that there may

4     be additional sealed and unsealed physical records located at the

5     Federal Records Center in Riverside that had not previously been

6     provided in response to Ms. Wilson’s requests for unsealed records or

7     to the government’s request for sealed records.          The Clerk’s office

8     indicated it was unaware of both the location and quantity of the

9     remaining records, and stated that they would make an attempt to

10    locate them.     The Clerk’s office indicated that they would request

11    the physical records from the Federal Records Center later today.

12         11.   In light of these developments and the significant concern

13    regarding proper designation and handling of the materials referenced

14    above, the government seeks an extension of time to file a response

15    to the Request in order to: (1) determine whether materials in the

16    sealed case file provided by the Court are subject to classification

17    and establish, if necessary, procedures for handling and reviewing

18    such materials; and (2) conduct further records checks to locate the

19    records that Fugitive Media has requested but that were not contained

20    in the Court’s records and not provided either to Ms. Wilson (in the

21    case of unsealed documents) or to the government (in the case of

22    sealed documents).

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1          12.   In light of the foregoing, the government proposes that the

2     parties file a joint status report on May 31, 2019, regarding the

3     status of the items set forth above.        Before filing this application,

4     I sent a copy of it to Ms. Wilson, who informed me that she does not

5     oppose the application.

6          I declare under penalty of perjury under the laws of the United

7     States of America that the foregoing is true and correct to the best

8     of my knowledge and that this declaration is executed at Los Angeles,

9     California, on May 17, 2019.

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                                                /s/ David T. Ryan
11                                            DAVID T. RYAN
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